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Internal Revenue Service
Criminal Investigation

Memorandum of Conversation

In Re: LINDSEY SPRINGER Location: iRS Office
Tulsa, Oklahoma

investigation #: 750530384

Date: August 18, 2009

Time: 10:20-10:33AM

Participant(s): OSCAR STILLEY, Defendant
Charles O'Reilly, SAUSA
Brian Shern, Special Agent

On the above date and approximate time, Special Agent Brian Shem received a
telephone call from OSCAR STILLEY. STILLEY told SA Shern he had Charles
O'Reilly on the other line and wished to start a conference call. SA Shern agreed and
the conference call was initiated. The following information was obtained:

1. STILLEY wanted to know the specific amounts of tax due and owing that
LINDSEY SPRINGER was alleged to have evaded in the indictment for each
year. SA Shern provided these amounts to STILLEY. The amounts were by
tax year as follows:

2000 - $33,777
2001 - $573
2002 - $0

2003 - $89,350
2004 - $0

2005 - $33,463

SAUSA O'Reilly mentioned to STILLEY that these figures had already been
provided to him in the discovery materials. SAUSA O’Reilly also told STILLEY
that not all of the years were being charged as tax evasion due to the amount of
tax due and owing.

2. STILLEY said he wanted to clarify what he was being charged with in the
conspiracy, and asked if he was charged with conspiracy for assisting
SPRINGER evade the amounts above. SAUSA O'Reilly explained that the
conspiracy was broader than that, and Included impairing the IRS’ ability to
ascertain, assess and collect LINDSEY SPRINGER’S Federal income tax
obligations, which included the amounts above. SAUSA O'Reilly also explained
that a conspiracy to defraud involves impeding and impairing, through dishonest

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means, the functions of the government.

3. SA Shern and SAUSA O'Reilly also stated that the amounts above may change
based on the evidence reviewed. STiILLEY acknowledged that the amounts
may change, and asked if the changes would be that material. SAUSA O'Reilly
stated that the changes, if any, were unlikely to be material.

4. After some discussion about what STILLEY was being charged with in relation
to the conspiracy to defraud the United States, STILLEY said he thought he
understood now, and thanked SAUSA O'Reilly and SA Shem. The conference
call was then concluded.

| certify that this memorandum contains all pertinent facts discussed during the
conversation with Oscar Stilley.

f aM yy j
Brian M. Shern
Special Agent

| prepared this memorandum on August 18, 20009, after refreshing my memory from
notes made during and immediately after the conversation with Oscar Stilley.

Brian M. Shern
Special Agent

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